         Case 22-90323 Document 16-2 Filed in TXSB on 10/13/22 Page 1 of 4




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION
    ________________________________________
    In re:                                      ) Chapter 11
                                                )
    Montrose Multifamily Members, LLC, et al. 1 ) Case No. 22-90323
                                                )
             Debtors.                           ) Jointly Administered
                                                )
    ________________________________________ )

ORDER (I) AUTHORIZING INTERIM USE OF CASH COLLATERAL PURSUANT TO
   11 U.S.C. § 363(c) OF THE BANKRUPTCY CODE (II) GRANTING ADEQUATE
PROTECTION FOR THE USE OF CASH COLLATERAL AND (III) SCHEDULING A
FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001 AS TO USE OF CASH
                                COLLATERAL

        CAME ON for consideration, the emergency motion (the "Motion"), for an interim order
(i) authorizing the use of cash collateral pursuant to 11 U.S.C. § 363(c), (ii) granting adequate
protection for the use of cash collateral, and (iii) scheduling a final hearing pursuant to Bankruptcy
Rule 4001 as to the use of cash collateral. Having considered the Motion and considering the
evidence and arguments of counsel, the Court hereby finds cause to grant the requested relief and
concludes the following:

        A.     The Debtors require the use of the Cash Collateral DLP Capital in order to continue
its ordinary course business operations and to maintain the value of their bankruptcy estate. The
Debtors are permitted to use the Cash Collateral, on the terms and conditions provided for herein,
commencing on October 4, 2022 (the “Petition Date”) and expiring on the _____________ (the
"Interim Cash Collateral Period"). The Debtors shall not make use of Cash Collateral except in
accordance with the terms and conditions contained in this Cash Collateral Order.

       B.      DLP Capital shall receive monthly adequate protection payments as provided in the
Debtors’ Interim Budget attached as Exhibit 1.

        C.     The Debtors are permitted to use the Cash Collateral solely for such purposes set
forth in the Budget in order to avoid immediate and irreparable harm to the Debtors’ bankruptcy
estates which will occur if this Cash Collateral Order is not immediately approved.

                                                  ORDER

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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Montrose Multifamily Members II, LLC (5725); Colquitt 2008, LP (6108); Westmoreland
Partners, LLC (1492); Graustark Members II, LLC (1605); Kipling Partners LLC (2339); MT Vernon Members, LLC
(5014); and Norfolk Partners LLC (3182). The location of Debtor Montrose Multifamily Members, LLC’s principal
place of business and the Debtors’ service address is 4203 Montrose Blvd, Suite 400, Houston, Texas, 77006.
       Case 22-90323 Document 16-2 Filed in TXSB on 10/13/22 Page 2 of 4




       Accordingly, it is therefore ORDERED that:

        1.     The Motion is hereby granted in accordance with the terms of this Order. Any
objections to the Motion with respect to the entry of this Order that have not been withdrawn,
waived or settled, and all reservations of rights included therein, are hereby denied and overruled.

       2.       The Debtors are authorized, on a limited basis, to use Cash Collateral only as
provided in strict accordance with the terms and conditions provided in this Cash Collateral Order.

        3.      The Debtors shall be permitted to use Cash Collateral through ___________, solely
to pay the expenses described in the expenditures contained in the budget attached hereto as
Exhibit 1 (as such budget may be amended, modified, or supplemented in accordance with this
Cash Collateral Order, the "Budget") for the Cash Collateral Period, solely up to the amounts, at
the times and for the purposes identified in the Budget. The Debtors shall not, without prior written
consent of the DLP Capital, use Cash Collateral with respect to any month in the Budget in an
amount in excess of the aggregate amount budgeted for that month, provided, that there shall be a
permitted variance of 15% in the aggregate for any amounts listed in the Budget for a particular
month. Any amounts listed in the Budget that are unused in any month may be carried over and
used by the Debtors in any subsequent month and any unused amounts may be utilized for any
other line item within the week or subsequent month.

        4.     The Debtor and DLP Capital may extend the Cash Collateral Period without further
notice to creditors or order of this Court, provided that a Stipulation Extending Cash Collateral
Order signed by counsel to the Debtor and counsel of DLP Capital is filed together with a copy of
a budget should there be any changes from the Budget attached hereto as Exhibit 1.

         5.     DLP Capital is entitled to, pursuant to sections 361, 362, and 363(e) of the
Bankruptcy Code, to adequate protection of their interests in the Cash Collateral on account of the
totality of the diminution in value of the Cash Collateral, if any, from and after October 4, 2022
(the "Petition Date") in accordance with section 506(a) of the Bankruptcy Code arising from the
imposition and enforcement of the automatic stay and the Debtors’ use or disposition of the Cash
Collateral, as the case may be a diminution, (each diminution, a "Diminution in Value").

        6.     DLP Capital is hereby granted the following adequate protection (the "Adequate
Protection") effective upon the date of this Order and without the necessary of the execution or
filing by the Debtors or DLP Capital:

       a.      Adequate Protection Liens: To the extent of the aggregate Diminution of Value, if
       any, of their respective interests in the Cash Collateral, and subject to the Carve-Out
       (defined in paragraph 8 of this Order) DLP Capital shall have valid and perfected additional
       and replacement security interests in, and liens upon (the ”Adequate Protection Liens"), all
       of the relevant Debtors’ right, title and interest in, to, and under all of Debtors’ now owned
       and after-acquired cash, and Cash Collateral of the Debtors, any investment of such cash
       and cash collateral, inventory, accounts receivable, any cause of action, any right to
       payment whether arising before or after the Petition Date and the proceeds thereof, any
        Case 22-90323 Document 16-2 Filed in TXSB on 10/13/22 Page 3 of 4




       right to payment whether arising before or after the Petition Date, and the proceeds,
       products, rents and profits of all of the foregoing, but only to the extent and priority that
       DLP Capital had valid prepetition liens and security interests in such collateral as of the
       Petition Date that is not subject to defense, offset, avoidance or subordination (collectively,
       the "Adequate Protection Collateral"). The priority of any postpetition replacement liens
       granted to DLP Capital shall be the same as existed on as of the Petition Date; and

       b.      Adequate Protection Superpriority Claims. To the extent of the aggregate
       Diminution of Value, if any, of their respective interests in the Cash Collateral, and subject
       to the Carve-Out (defined in paragraph 8 of this Order) DLP Capital is hereby granted, in
       addition to claims under section 503(b) of the Bankruptcy Code, an allowed superpriority
       administrative expense claim pursuant to section 507(b) of the Bankruptcy Code
       (collectively, the "Adequate Protection Superpriority Claims").

       c.    Adequate Protection Payments. DLP Capital will be provided adequate protection
       payments according to Exhibit 1.

        7.     The priority of any postpetition replacement liens granted to DLP Capital hereunder
shall be the same as existed of the Petition Date. The Adequate Protection Liens and Adequate
Protection Superpriority Claims shall be valid only to the extent the DLP Capital’s prepetition
claims and liens exist, are valid, prior to all others, and not subject to defense, offset, avoidance or
subordination.

        8.      The term "Carve-Out" shall mean quarterly fees required to the United States
Trustee pursuant to 28 U.S.C. § 1930(a)(6) and any fees payable to the Clerk of the Bankruptcy
Court. All liens and claims of the DLP Capital, regardless of their nature or priority, shall be
subject to the Carve-Out.

        9.     Pursuant to Bankruptcy Rule 4001, the final hearing ("Final Hearing") on the
Motion shall be held and is hereby scheduled for the _____ of __________, 2022 at ___: _____
____. M. before this Court. Objections to the requested relief shall be filed with the Court no later
than the ____ of ____________, 2022 at ___: _____ ____.M and served upon (i) the Debtors, (ii)
Debtors’ counsel, (iii) all secured creditors of the Debtor, and (iv) any other party that has filed a
notice of appearance in this Chapter 11 case. The Debtors shall promptly mail copies of this Order
to each of the parties receiving notice of the Motion, as well as any other entity known to the
Debtors that might have an interest in Cash Collateral and any other party that has filed and served
a special request for notice with this Court.

                                   Reserved for Judge’s Signature
                                                   Case 22-90323 Document 16-2 Filed in TXSB on 10/13/22 Page 4 of 4

                                                                                                                                                                                                                                                            1
Income Statement - Property Comparison
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Account Name                              1423 Kipling               1717 Norfolk                2008 Colquitt               MMM               3412 Graustark            3414 Graustark            400 Westmoreland        4321 Mt Vernon            MMM2
Units                                     8                          20                          8                           64                8                         8                         16                      16                        67
Operating Income & Expense
  Income
     INCOME
       RENTAL INCOME
         Rental Income                                   10,755.00                   9,330.00                    13,937.00         65,970.00               12,100.00                  9,791.94                16,940.00                19,830.00            51,373.00
         Utility Reimbursement                              439.00                     471.62                       488.50          2,575.00                  464.00                    354.00                   729.00                   917.39             1,677.00
  Total Operating Income                                 11,194.00                   9,801.62                    14,425.50         68,545.00               12,564.00                 10,145.94                17,669.00                20,747.39            53,050.00

     EXPENSES
       Repairs & Maintenance
         Materials/Supplies                                100.00                      100.00                      100.00             100.00                    100.00                    100.00                 100.00                     100.00
         Plumbing Service Calls                              0.00                        0.00                        0.00             465.00                      0.00                      0.00                 950.00                       0.00           1,200.00
         Building Repair                                     0.00                        0.00                        0.00               0.00                      0.00                      0.00                   0.00                     309.00
         Pool Maintenance                                    0.00                        0.00                        0.00             438.42                      0.00                      0.00                   0.00                       0.00            454.66
         Landscaping                                       140.00                      300.00                      140.00             620.00                     80.00                     80.00                 160.00                     160.00            920.00
         Pest Control                                      140.73                      140.73                      140.73             573.73                    140.73                    140.73                 140.73                     140.73            622.19
         Make Ready                                          0.00                        0.00                        0.00             340.00                      0.00                    250.00                   0.00                       0.00
       Total Repairs & Maintenance                         380.73                      540.73                      380.73           2,537.15                    320.73                    570.73               1,350.73                     709.73           3,196.85
       Operating Expenses
         Water                                              214.07                   2,408.40                       186.00          2,329.24                  217.80                    217.80                   355.00                   380.83             1,971.00
         Electricity                                         80.41                   1,807.15                       111.84          2,077.06                  207.44                    267.82                   254.93                   187.47             2,189.94
         Gas                                                100.51                     164.94                       179.30            546.78                   93.24                     97.41                   379.51                   148.28               785.72
         Trash Disposal                                     146.18                     112.91                       146.18            712.95                  145.98                    145.98                   164.69                   247.82               457.29
         Appliance Rental/Fees                               95.35                     470.88                         0.00              0.00                  578.06                    578.06                 1,127.57                     0.00                 0.00
         Advertising                                         49.41                      49.41                        49.41            148.23                   49.41                     49.41                    49.41                    49.41               197.64
         Leasing Software/Licenses/Fees                     174.14                     174.14                       174.14            522.42                  174.14                    174.14                   174.14                   174.14               696.56
         Management Fees                                    537.75                     466.50                       696.85          3,298.50                  605.00                    489.60                   847.00                   991.50             2,568.65
         Maintenance Fees                                   352.00                     880.00                       352.00          2,816.00                  352.00                    352.00                   704.00                   704.00             2,948.00
         Payroll                                          1,536.00                   3,840.00                     1,536.00         12,288.00                1,536.00                  1,536.00                 3,072.00                 3,072.00            12,864.00
         Property Taxes                                     891.87                       0.00                     1,211.41              0.00                    0.00                      0.00                     0.00                     0.00                 0.00
         Legal Fees                                        2500.00                    2500.00                      2500.00           5000.00                 2500.00                   2500.00                  2500.00                  2500.00              5000.00
         Office Expenses/Misc                             1,000.00                   1,000.00                     1,000.00          3,000.00                1,000.00                  1,000.00                 1,000.00                 1,000.00             4,000.00
         Accounting                                       1,500.00                   1,500.00                     1,500.00          1,500.00                1,500.00                  1,500.00                 1,500.00                 1,500.00             1,500.00
         interest Expense- DLP                            2,500.00                   2,500.00                     2,500.00          5,000.00                2,500.00                  2,500.00                 2,500.00                 2,500.00             5,000.00
           Insurance Down Payment                         1,428.00                   1,428.00                     1,428.00          4,284.00                1,428.00                  1,428.00                 1,428.00                 1,428.00             5,714.00
         Insurance- monthly charges                         573.56                   1,542.51                     $765.38           3,285.29                  481.37                    481.37                 1,274.58                 1,026.04             4,736.65
       Total Operating Expenses                          13,679.25                  20,844.84                    14,336.51         46,808.47               13,368.44                 13,317.59                17,330.83                15,909.49            50,629.45
     Total EXPENSES                                      14,059.98                  21,385.57                    14,717.24         49,345.62               13,689.17                 13,888.32                18,681.56                16,619.22            53,826.30


  Total Income                                           11,194.00                   9,801.62                    14,425.50         68,545.00               12,564.00                 10,145.94                17,669.00                20,747.39            53,050.00
  Total Expense                                          14,059.98                  21,385.57                    14,717.24         49,345.62               13,689.17                 13,888.32                18,681.56                16,619.22            53,826.30

  Net Operating Income                                   -2,865.98                  -11,583.95                     -291.74         19,199.38               -1,125.17                 -3,742.38                 -1,012.56                4,128.17              -776.30
